Case 5:21-cv-00441-ACC-PRL Document 19 Filed 02/22/22 Page 1 of 5 PageID 107




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

DIXIE METAL PRODUCTS, INC.,

      Plaintiff/Counter-Defendant,

v.                                             Case No.: 5:21-cv-441-JSM-PRL

PEDDINGHAUS CORPORATION,

      Defendant/Counter-Plaintiff.
________________________________/

                       JOINT STIPULATION OF DISMISSAL

      Plaintiff/Counter-Defendant,        Dixie     Metal   Products,   Inc.,   and

Defendant/Counter-Plaintiff, Peddinghaus Corporation, hereafter collectively

“the Parties,” state as follows:

      1. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties

          jointly stipulate to the voluntary dismissal of this action without

          prejudice.

      2. The parties have settled this matter subsequent to mediation via an

          executed Settlement and Release Agreement and agree to dismiss this

          action.

      3. The Parties hereto will be responsible for bearing their own attorneys’

          fees and costs related to this action.



                                      Page 1 of 5
Case 5:21-cv-00441-ACC-PRL Document 19 Filed 02/22/22 Page 2 of 5 PageID 108




      4. The Parties respectfully request that this dismissal be automatically

         converted to a dismissal with prejudice on June 14, 2022, unless before

         that date a Party files a motion to reinstate, to enforce the terms of the

         Parties’ Agreement, or for additional time to file a motion to reinstate or

         a motion to enforce such Agreement.

      5. The Parties therefore request that this Honorable Court enter the attached

         proposed Order dismissing this action; setting forth the terms pursuant

         to which it shall dismiss with prejudice; and retaining jurisdiction to

         enforce the terms of the Parties’ Settlement and Release Agreement dated

         February 17, 2022.



Respectfully submitted on this 22 day of February 2022,

/s/ Ian M. Ross                               /s/ Oscar E. Soto
Ian M. Ross, Esq.                            Oscar E. Soto, Esq.
Florida Bar No.: 91214                       Florida Bar No.: 766038
STUMPHAUZER FOSLID                           SOTO LAW GROUP, P.A.
SLOMAN ROSS & KOLAYA, PLLC                   Counsel for Plaintiff
Counsel for Defendant                        2400 E. Commercial Blvd., Suite 400
Two South Biscayne Boulevard                 Fort Lauderdale, Florida 33308
Suite 1600                                   Tel: (954) 567-1776
Miami, FL 33131                              Fax: (954) 567-1778
Telephone: (305) 614-1400                    Primary: oscar@sotolawgroup.com
Facsimile: (305) 614-1425                    Secondary:
                                             rebecca@sotolawgroup.com


/s/ James W. Ducayet


                                    Page 2 of 5
Case 5:21-cv-00441-ACC-PRL Document 19 Filed 02/22/22 Page 3 of 5 PageID 109




James W. Ducayet, Esq.
Pro Hac Vice
SIDLEY AUSTIN LLP
Counsel for Defendant
One South Dearborn
Chicago, IL 60603
Telephone: (312) 853-7000
Fax: (312) 853-7036




                                 Page 3 of 5
Case 5:21-cv-00441-ACC-PRL Document 19 Filed 02/22/22 Page 4 of 5 PageID 110




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION

DIXIE METAL PRODUCTS, INC.,

      Plaintiff/Counter-Defendant,

v.                                            Case No.: 5:21-cv-441-JSM-PRL

PEDDINGHAUS CORPORATION,

      Defendant/Counter-Plaintiff.
________________________________/

        ORDER APPROVING JOINT STIPULATION OF DISMISSAL


      THIS CAUSE having come before the Court on the Parties’ Joint Stipulation

of Dismissal, it is hereby ORDERED AND ADJUDGED

      The Joint Stipulation of Dismissal is hereby APPROVED.

      This case is dismissed without prejudice. This dismissal be automatically

converted to a dismissal with prejudice on June 14, 2022, unless before that date a

Party files a motion to reinstate, to enforce the terms of the Parties’ Agreement, or

for additional time to file a motion to reinstate or a motion to enforce such

Agreement.

      The Court shall retain jurisdiction to enforce the Parties’ Settlement and

Release Agreement, dated February 17, 2022.




                                     Page 4 of 5
Case 5:21-cv-00441-ACC-PRL Document 19 Filed 02/22/22 Page 5 of 5 PageID 111




      DONE AND ORDERED in Chambers in Orlando, Florida on this ____ day

of _____________, 2022.

                                          ______________________________
                                          U.S. District Judge Anne C. Conway




                                 Page 5 of 5
